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                   UNITED STATES BANKRUPTCY COURT
                  WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
IN RE:                                   )
                                         )
   JOSEPH GREGORY JEMSEK,                )           CASE NO.: 06-31986
                                         )
   JEMSEK CLINIC, P.A.,                  )           CASE NO.: 06-31766
                                         )
                   Debtors               )               CHAPTER 11
                                         )           (Jointly Administered)

    MOTION TO COMPEL IMPLEMENTATION OF CONFIRMED PLAN
                       (11 U.S.C. § 1142)

            NOW COMES          First-Citizens Bank &      Trust    Company ("First
Citizens"), by and through its undersigned attorney, and files this Motion to Compel
Implementation of Confirmed Plan ("Motion") pursuant to 11 U.S.C. § 1142. In
support of this Motion, First Citizens Bank shows the Court the following:
            1.     This Court has jurisdiction over the parties and the subject
matter.
            2.     The Debtor Jemsek Clinic, P.A. ("Debtor Jemsek Clinic") filed its
voluntary petition pursuant to Chapter 11 of the United States Bankruptcy Code on
October 25, 2006 ("Jemsek Clinic's Petition Date")
            3.     The Debtor Joseph Gregory Jemsek, ("Debtor Jemsek") filed his
voluntary petition pursuant to Chapter 11 of the United States Bankruptcy Code on
November 20, 2006 ("Jemsek's Petition Date").
            4.     On March 19, 2015, the Court entered an Order Directing Joint
Administration of Debtor Jemsek Clinic and Debtor Jemsek's bankruptcy cases.
Debtor Jemsek's bankruptcy matter became the Lead Case.
            5.     This case remains pending in the Western District of North
Carolina and no Trustee has been appointed.
            6.     On March 8, 2018, this Court entered an Order Confirming
Second Amended Joint Plan of Reorganization ("Plan").             The Plan provided
treatment of claims. The Plan is binding on the Debtors. 11 U.S.C. § 1142(a).
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             7.     First Citizens is the holder of several claims in this case.
Relevant to this Motion is its Class 7 Claims.
             8.     The Plan defines the Effective Date as March 8, 2018 and states
that is "the Business Day on which all of the conditions set forth in Article 10 of this
Plan shall have been satisfied or waived."
             9.     The Plan requires the Debtors to "execute a Class 7 Plan Note
(the "Note") in favor of each holder of an Allowed Class 7 Claim" as stated below:
      "3.7.2 (“Treatment”) These Claims shall be treated as an unsecured
      obligation of the Reorganized Debtors. Except as noted herein with
      respect to the Allowed BCBS Claim, in full satisfaction of their claims,
      the holders of Allowed Class 7 Claims will receive a pro-rata
      distribution of One Hundred and Fifty Thousand Dollars ($150,000.00)
      from the Distribution Account after the payment to the holders of
      allowed Super-Priority, Allowed Administrative, Allowed Priority and
      Allowed Class 1 through 6 claims. Except with respect to the Allowed
      BCBS Claim (the holder of which is waiving distribution rights),
      holders of Allowed Class 7 Claims will receive 12 consecutive quarterly
      pro-rata distributions in the amount of $12,500.00, commencing after
      the payment of the BCBS Administrative Claim, Allowed Super-
      Priority Administrative Claims, and Administrative Claims.

      Within thirty (30) days after the entry of orders finally determining
      the Allowed Claims of Class 7 creditors, the Debtors shall execute a
      Class 7 Plan Note (the “Note”), the form of which is attached hereto as
      Exhibit B, in favor of each holder of an Allowed Class 7 Claim. The
      debt payable to each creditor shall be determined by dividing the
      Allowed Claim of that creditor by the total amount of Class 7 Allowed
      Claims, and multiplying the resulting fraction by $150,000.00.
      Commencing on July 1, 2021, and for 11 consecutive calendar quarters
      thereafter, each creditor will receive its pro rata share of a total
      quarterly payment in the amount of $12,500.00. The Maturity Date of
      the debt is July 1, 2024. The Debtors are not obligated to pay the
      holders of Allowed Class 7 Claims more than $150,000.00 and
      payments will cease when $150,000.00 has been distributed to the
      Class. The holder of the Allowed BCBS Claim shall not receive
      distributions under Section 3.7.2 of the Plan. The Debtors may pre-pay
      all or any portion of the Notes without penalty.

      Within thirty days after the Effective Date, the Debtors will tender the
      Order Imposing Lien on Real Property (the “Order Imposing Lien”, in
      the form attached hereto as Exhibit C) to the Court and file a certified
      copy with the Register of Deeds of Macon County, North Carolina. The

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      Order Imposing Lien shall act as a lien on real property located at Lot
      7, Walkingstick Falls Rd in Highlands, Macon County, North Carolina
      (the “Real Property”), to secure the Notes. The Order Imposing Lien
      shall not act as a lien on Lot 6, Walkingstick Falls Rd. in Highlands,
      Macon County, North Carolina, or on any other real or personal
      property now owned or hereafter acquired by the Debtors. Upon
      completion of payments due under the Notes, the lien on the Real
      Property shall be void and of no effect. On the request of the Debtors
      and after a notice and hearing the Court will take such action as is
      necessary to cause the release and satisfaction of the Order Imposing
      Lien.

      The sale of the Greenbrier Property scheduled for completion within
      two years of the Effective Date stated in Section 3.1.2 of the Plan shall
      be amended to a fixed August 2019 sale date."

             10.    On April 19, 2018, a Notice of Entry of Confirmation Order,
Occurrence of Effective Date, and Administrative Claim Bar Date was filed by
Debtor [DE 1088]
             11.    On July 30, 2018, the Court entered Orders Sustaining the
Objection of Debtor [DE 1113] on behalf of the Debtor Jemsek in which "First-
Citizens are Sustained, and that said claims are hereby disallowed" with regards to
First-Citizens Proof of Claim No. 13 because it is a duplication of First-Citizens
Proof of Claim No. 27.
             12.    On July 30, 2018, the Court entered Orders Sustaining the
Objection of Debtor [DE 1114] on behalf of the Debtor Jemsek Clinic in which First-
Citizens "are Sustained, and that said claims are hereby disallowed" with regards to
First-Citizens Proof of Claim No. 7-1, 8-2, and 9-2 because they are a duplication of
First-Citizens claims filed in Debtor Jemsek's bankruptcy matter.
             13.    The balance of First-Citizens Class 7 claims required to be paid
by the Debtors under the Plan are:
                     a.   Proof of Claim No. 11 filed on December 19, 2006 in the
amount of $285,840.51;
                     b.   Proof of Claim No. 12 filed on December 19, 2006 and
amended on September 6, 2017 in the amount of $341,895.12;



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                       c.   Proof of Claim No. 27 filed on April 19, 2007 and amended
on September 6, 2017 in the amount of $1,745,003.46.
               14.    The deadline for the Debtors to execute a Class 7 Plan Note in
favor of each holder of an Allowed Class 7 Claim was August 29, 2018.
               15.    Despite several requests to Debtors' counsel, Debtors have not
executed and delivered a Class 7 Plan Note to First-Citizens.
               WHEREFORE, First Citizens prays unto the Court as follows:
               1.     For an entry of an Order requiring the Debtors to immediately
implement the express terms of the Plan by executing and delivering to First-
Citizens the Class 7 Plan Note as called for in the Plan.
               2.     If the Debtors do not immediately implement the express terms
of the Plan by executing and delivering to First-Citizens the Class 7 Plan Note as
called for in the Plan, the Court schedule a hearing and require the Debtors to
appear and show cause why they have failed to implement the Plan.
               3.     For an order directing the Debtors to reimburse First-Citizens
for the attorneys' fees and legal expenses it has incurred by making and prosecuting
this Motion.
               4.     For such other and further relief as to the Court may seem just
and proper.
               This the 6th day of February, 2019.


                                  _/s/ Paul A. Fanning_____________
                                  Paul A. Fanning
                                  N.C. State Bar I.D. No.: 025477
                                  For the firm of
                                  Ward and Smith, P.A.
                                  120 West Fire Tower Road
                                  Post Office Box 8088
                                  Greenville, NC 27835-8088
                                  Telephone: (252) 215-4027
                                  Facsimile: (252) 215-4077
                                  Attorneys for First-Citizens Bank & Trust
                                  Company




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                   UNITED STATES BANKRUPTCY COURT
                  WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
IN RE:                                     )
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   JOSEPH GREGORY JEMSEK,                  )           CASE NO.: 06-31986
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   JEMSEK CLINIC, P.A.,                    )           CASE NO.: 06-31766
                                           )
                    Debtors                )              CHAPTER 11
                                           )          (Jointly Administered)

         NOTICE OF MOTION AND OPPORTUNITY FOR HEARING
                     CERTIFICATE OF SERVICE

             NOTICE IS HEREBY GIVEN of the Motion to Compel Implementation
of Confirmed Plan filed simultaneously herewith by the attorney for First-Citizens
in the above-captioned case; and,
             FURTHER NOTICE IS HEREBY GIVEN that this Motion may be
allowed provided that no response and request for a hearing is made by the Debtors
or other party in interest in writing to the Clerk of this Court on or before 14 days
from the date of this Notice.
             FURTHER NOTICE IS HEREBY GIVEN that is a response and a
request for hearing is filed by the Debtors or other party in interest named herein in
writing within the time indicated, a hearing will be conducted on the Motion and
response thereto as 9:30 a.m., February 26, 2019, United States Bankruptcy
Court, 401 West Trade Street, Room 111, Charlotte, North Carolina. No
further notice of this hearing will be given. If no request for a hearing is timely
filed, the Court may rule on the Motion and response thereto ex parte without
further notice.




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          This the 6th day of February, 2018.


                             _/s/ Paul A. Fanning_____________
                             Paul A. Fanning
                             N.C. State Bar I.D. No.: 025477
                             For the firm of
                             Ward and Smith, P.A.
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                             Company




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                             CERTIFICATE OF SERVICE


                I   hereby   certify    that   the   foregoing   MOTION   TO       COMPEL
IMPLEMENTATION OF CONFIRMED PLAN (11 U.S.C. § 1142) and NOTICE was
filed electronically in accordance with the local rules and was therefore served
electronically on those entities that have properly registered for such electronic
service. Entities not registered for electronic service have been served by depositing
a copy thereof in the United States mail, postage pre-paid.

      Joseph Gregory Jemsek                          James H. Henderson
      1255 25th Street NW                            JAMES H. HENDERSON, P.C.
      Apt. 621                                       1201 Harding Place
      Washington, DC 20037                           Charlotte, NC 28204-2248
                                                     Attorney for Debtors
                                                     Served by CM/ECF

      U.S. Trustee                                   Richard S. Wright
      U.S. Bankruptcy Administrator Office           Moon Wright & Houston, PLLC
      402 W. Trade Street                            121 W. Trade Street
      Suite 200                                      Suite 1950
      Charlotte, NC 28202-1669                       Charlotte, NC 28202
                                                     Attorney for Kay T. Jemsek
                                                     Served by CM/ECF

                This the 6th day of February, 2018.


                                       _/s/ Paul A. Fanning_____________
                                       Paul A. Fanning
                                       N.C. State Bar I.D. No.: 025477
                                       For the firm of
                                       Ward and Smith, P.A.
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